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 1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
   Charles K. Verhoeven (Cal. Bar No. 170151)
  charlesverhoeven@quinnemanuel.com
   50 California Street, 22nd Floor
  San Francisco, California 94111
   Telephone: (415) 875-6600
  Facsimile: (415) 875-6700

  Kevin P.B. Johnson (Cal. Bar No. 177129)
   kevinjohnson@quinnemanuel.com
  Victoria F. Maroulis (Cal. Bar No. 202603)
   victoriamaroulis@quinnemanuel.com
  555 Twin Dolphin Drive 5th Floor
   Redwood Shores, California 94065
  Telephone: (650) 801-5000
   Facsimile: (650) 801-5100
 
   Michael T. Zeller (Cal. Bar No. 196417)
 michaelzeller@quinnemanuel.com
   865 S. Figueroa St., 10th Floor
 Los Angeles, California 90017
   Telephone: (213) 443-3000
 Facsimile: (213) 443-3100

 Attorneys for SAMSUNG ELECTRONICS
   CO., LTD., SAMSUNG ELECTRONICS
 AMERICA, INC. and SAMSUNG
   TELECOMMUNICATIONS AMERICA, LLC


                                 UNITED STATES DISTRICT COURT

                NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

 APPLE INC., a California corporation,              CASE NO. 11-cv-01846-LHK

                Plaintiff,                          SAMSUNG’S ADMINISTRATIVE
                                                      MOTION TO FILE DOCUMENTS
         vs.                                        UNDER SEAL

 SAMSUNG ELECTRONICS CO., LTD., a
   Korean business entity; SAMSUNG
 ELECTRONICS AMERICA, INC., a New
   York corporation; SAMSUNG
 TELECOMMUNICATIONS AMERICA,
   LLC, a Delaware limited liability company,
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                 Defendants.
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                                                                         Case No. 11-cv-01846-LHK
                               SAMSUNG’S ADMINISTRATIVE MOTION TO FILE DOCUMENTS UNDER SEAL
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 1         Pursuant to Civil L.R. 7-11 and 79-5, and General Order No. 62, Defendants Samsung

 2 Electronics Co., Ltd., Samsung Electronics America, Inc., and Samsung Telecommunications

 3 America, LLC (collectively, “Samsung”) hereby bring this administrative motion for an order to

 4 seal:

 5             1. The confidential, unredacted version of Samsung's Reply in Support of Motion to

 6                 Strike Expert Testimony Based on Undisclosed Facts and Theories (“Reply”);

 7             2. The confidential, unredacted version of the Declaration of Michael J. Wagner in

 8                 Support of the Reply (“Wagner Declaration”);

 9             3. Exhibits B and C to the Wagner Declaration; and

10             4. Exhibits 1-6, 13, 20-21, and 29-30 to the Declaration of Christopher E. Price in

11                 Support of the Reply (“Price Declaration”).

12         In short, the above documents discuss, refer to, or comprise information the parties have

13 designated as HIGHLY CONFIDENTIAL — ATTORNEYS' EYES ONLY.                       The Reply; Wagner

14 Declaration; Exhibit C to the Wagner Declaration; and Exhibits 1-6, 13, 20-21, and 29-30 to the

15 Price Declaration discuss, refer to, or comprise documents Apple Inc. (“Apple”) has designated as

16 confidential. Exhibit B to the Wagner Declaration discusses information both Apple and

17 Samsung have designated as confidential.     Samsung has established good cause to seal Exhibit B

18 to the Wagner Declaration through the Declaration of Joby Martin in Support of Samsung’s

19 Administrative Motion to File Documents Under Seal.      Samsung expects that Apple will file the

20 declaration required by Local Rule 79-5(d) to permit the sealing of the Reply; Wagner

21 Declaration; Exhibits B and C to the Wagner Declaration; and Exhibits 1-6, 13, 20-21, and 29-30

22 to the Price Declaration.

23         Pursuant to General Order No. 62, Samsung’s entire filing will be lodged with the Court

24 for in camera review and served on all parties.

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 1 DATED: June 7, 2012                  QUINN EMANUEL URQUHART &
                                        SULLIVAN, LLP
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 4                                        By  /s/ Victoria Maroulis
                                            Charles K. Verhoeven
 5                                          Kevin P.B. Johnson
                                            Victoria F. Maroulis
 6                                          Michael T. Zeller
 7                                          Attorneys for SAMSUNG ELECTRONICS CO.,
                                            LTD., SAMSUNG ELECTRONICS AMERICA,
 8                                          INC., and SAMSUNG
                                            TELECOMMUNICATIONS AMERICA, LLC
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                         SAMSUNG’S ADMINISTRATIVE MOTION TO FILE DOCUMENTS UNDER SEAL
